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  IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
                            PENNSYLVANIA



JANE DOE                                              )       No:    2:22-cv-00075
                                                      )
                                       Plaintiff,     )       CIVIL ACTION
                                                      )
       vs.                                            )
                                                      )
WESTMINSTER COLLEGE, and                              )
CARLLOS LASSITER                                      )
                                                      )
                                       Defendant.     )       JURY TRIAL DEMANDED


 PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF MOTION TO PROCEED
          UNDER PSEUDONYM AND/OR FOR PROTECTION ORDER

       And now comes Plaintiff Jane Doe, by and through counsel, to move the Court for an order

maintaining her anonymity throughout the duration of this matter. This request is limited to

allowing Plaintiff’s identity to be protected from public disclosure. She is not requesting to proceed

anonymously as to Defendants. For the reasons stated below, the Court should permit Plaintiff to

continue her lawsuit under a pseudonym.

      I. FACTS AND PROCEDURAL HISTORY

   Plaintiff Jane Doe brings claims under Title IX, Common Law Negligence, Negligent

Infliction of Emotional Distress, Negligent Hiring, Training, and Supervision, and Breach of

Contract against all Defendants. Jane Doe fears stigmatization by the public, friends and business

associates and has a substantial fear of increased humiliation, embarrassment, and emotional

distress if her identify is made public. If her identity and status as a rape victim were disclosed to

the public, it would cause severe stress, anxiety, depression, and compound her already existing

serious emotional distress due to the rapes.
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   Both Defendants are aware of the true identity of Jane Doe. Allowing her to proceed under

pseudonym will in no way deprive them of notice of this claim or prejudice them in any way in

defending against these claims. The public will also not be deprived, as they can still follow the

public proceedings.

   This matter was originally filed in the Western District of Pennsylvania on January 14, 2021.

To date, no scheduling conference has occurred in the case and there are no definite deadlines.

     II. LEGAL STANDARD

   There is a presumption that judicial proceedings be open to the public. For example, Fed. R.

Civ. P. 10(a) requires that “[the title of the complaint…name all parties.”            However, the

presumption of openness must be weighed against a party’s privacy interest in certain situations.

Doe v. Porter, 370 F. 3d 558, 560 (6th Cir. 2004). “Several considerations determine whether a

plaintiff’s privacy interests substantially outweigh the presumption of open judicial proceedings.”

Id. Criteria that favor a litigant’s request to proceed anonymously include:

       “(1) the extent to which the identity of the litigant has been kept confidential; (2)
       the bases upon which disclosure is feared or sought to be avoided, and the
       substantiality of these bases; (3) the magnitude of the public interest in maintaining
       the confidentiality of the litigant's identity; (4) whether, because of the purely legal
       nature of the issues presented or otherwise, there is an atypically weak public
       interest in knowing the litigant's identities; (5) the undesirability of an outcome
       adverse to the pseudonymous party and attributable to his refusal to pursue the case
       at the price of being publicly identified; and (6) whether the party seeking to sue
       pseudonymously has illegitimate ulterior motives.”

See Doe v. Meglass, 654 F.3d 404, 409 (3rd Cir. 2011)(quoting Doe v. Provident Life and Acc. Ins.
Co., 176 F.R.D. 464, 467 (E.D.Pa. 1997).

The factors that weigh against a litigant’s request for anonymity include:

       (1) the universal level of public interest in access to the identities of litigants; (2)
       whether, because of the subject matter of this litigation, the status of the litigant as
       a public figure, or otherwise, there is a particularly strong interest in knowing the
       litigant's identities, beyond the public's interest which is normally obtained; and (3)
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        whether the opposition to pseudonym by counsel, the public, or the press is
        illegitimately motivated.

Id.

        Considering the public’s interest in open court proceedings, courts have found that there is

“an independent duty to determine whether ‘exceptional circumstances’ warrant a departure from

the normal method of proceeding in federal litigation.” Freedom from Religion Foundation, Inc.

v. New Kensington-Arnold School Dist., 2012 WL 6629643 at *3 (W.D. Pa. Dec. 19, 2012).

      III. ARGUMENT

        Plaintiff Jane Doe filed this matter anonymously. As a victim of sexual abuse, she has a

well-recognized interest to protect her identity from public disclosure. See, e,g., Plaintiff B v.

Francis, 631 F.3d 1310, 1315-18 (11th Cir. 2011); Bloch v. Ribar, 156 F.3d 673, 683-86 (6th Cir.

1998); Doe v. Blue Cross & Blue Shield United, 112 F.3d 869, 872 (7th Cir. 1997). This is true

regardless of the requirement of Fed. R. Civ. P. 10(a). Further, the factors set forth above are

satisfied in the present case.

        First, Plaintiff Jane Doe has taken steps to keep her identity confidential. She has not

informed anyone other than individuals employed at the police station, her immediate family and

close friends, her representative at Pennsylvania Coalition Against Rape who represented her in

the college’s Title IX hearing, and the Defendants to this action. Therefore, Plaintiff has taken

steps to keep her identity confidential. See Doe v. Evans, 202 F.R.D. 173, 179 (E.D. Pa. 2001).

        Second, Plaintiff Jane Doe’s fear of disclosure of her identity is justifiable. She was raped

two times by the same perpetrator. She holds a legitimate fear of increased embarrassment,

humiliation, and stigmatization by the public. Also, disclosure of her identity will compound the

severe emotional damages already caused by the repeated rapes. Therefore, Plaintiff Jane Doe’s

fears are well founded. Id.
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        Third, there is a strong public interest in maintaining the confidentiality of victims of sex

crimes. Id. Denying Plaintiff Jane Doe the ability to proceed under pseudonym sends a message to

other victims of sex crimes that their identity will become public knowledge after already being

victimized by their assailant. This, in turn, could prevent additional sex crime victims from

reporting their crimes and initiating litigation.

        Fourth, the public will have access to all the underlying facts of Plaintiff Jane Doe’s claim.

Consequently, there is an atypically weak public interest in knowing her identity. The public can

access the facts, the claims, and the resolution of the case without knowing her true identity.

Additionally, the public’s interest is not focused on the identity of Plaintiff Jane Doe, but on the

legal issues at the core of this case. Id.

        Fifth, if this Court rules that Plaintiff Jane Doe will not be able to proceed under

pseudonym, Plaintiff will be unable to continue with this litigation as she has a legitimate and

substantial fear of further emotional distress, embarrassment, and public humiliation.

        Sixth, Plaintiff has no ulterior motives in wishing to proceed under a pseudonym. Her

identity is already well known to the Defendants.

        The first factor considered by the Third Circuit in disfavoring the use of a pseudonym

considers the level of public interest in access to the identities of the litigants. While there is a level

of public interest in access to the identities of the litigants, subjecting Plaintiff Jane Doe to the

public eye will only serve to amplify her emotional distress, humiliation, and embarrassment.

Further, the public can keep track of this case by accessing the docket at any time.

        Second, there are no public figures involved in this litigation.

        Third, it is unknown by Plaintiff what Defendants’ motivation is for having her pursue this

litigation under her given name.
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    IV. CONCLUSION

       Therefore, in weighing all of the factors set out above, Plaintiff has offered ample valid

reasons for her request to proceed under pseudonym. For reasons stated herein, and particularly

due to the embarrassment and humiliation she will endure without the Court’s protection, Plaintiff

Jane Doe requests that she be allowed to proceed with a pseudonym throughout the duration of

this lawsuit. Accordingly, she asks the Court to enter the attached proposed order.



                                             Respectfully submitted,

                                             SCHMIDT KRAMER PC



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